                                               IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE DISTRICT OF MINNESOTA

                                                   INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                  )           COURTROOM MINUTES - CRIMINAL
                                                           )             BEFORE: JOHN F. DOCHERTY
                                      Plaintiff,           )                 U.S. Magistrate Judge
                                                           )
   v.                                                      )    Case No:            24-mj-866 JTH
                                                           )    Date:               December 23, 2024
 Eric Scott Peterson,                                      )    Video Conference
                                                           )    Time Commenced: 1:04 p.m.
                                      Defendant,           )    Time Concluded:     1:23 p.m.
                                                                Time in Court: 19 minutes


APPEARANCES:

   Plaintiff: Nichole Carter, Assistant U.S. Attorney
   Defendant: Jean Brandl, Assistant Federal Public Defender
                          X FPD           X To be appointed

   Date Charges Filed: 12/20/2024                  Offense: Committed unvoluntary manslaughter.

   X Advised of Rights

on X Complaint


X Personal Recognizance Bond set with conditions, see Order Setting Conditions of Release.



X Government moves to unseal the case.                   X Granted

Additional Information:
X Defendant consents to this hearing via video conference.
X Oral Rule5(f) Brady notice read on the record.
                                                                                                      s/aln______________
                                                                                                  Signature of Courtroom Deputy




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